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     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                            )
     In re:                                                                 )     Chapter 11
                                                                            )
     LE TOTE, INC., et al.,1                                                )     Case No. 20-33332 (KLP)
                                                                            )
                                  Debtors.                                  )     (Jointly Administered)
                                                                            )

                              FIRST MONTHLY FEE
               APPLICATION OF NFLUENCE PARTNERS AS INVESTMENT
               BANKER FORT THE DEBTORS FOR COMPENSATION FOR
         THE PERIOD FROM AUGUST 2, 2020 TO AND INCLUDING AUGUST 31, 2020




 1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
        claims and noticing agent at https://cases.stretto.com/letote/. The location of the Debtors’ service address is
        250 Vesey Street, 22nd Floor, New York, New York 10281.



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                                                               HMAdviseCo, LLC d/b/a Nfluence
     Name of Applicant:
                                                               Partners (“Nfluence”)

     Authorized to provide professional services               Le Tote, Inc., et al.
     to:                                                       Debtors and Debtors in Possession

                                                               Order entered on October 22, 2020, retention
     Date of retention:
                                                               as of August 2, 2020

     Period for which compensation and
                                                               August 2, 2020, through August 31, 2020
     reimbursement is sought:

     Amount of compensation sought as actual,                  $25,000.00
     reasonable and necessary:

     Amount of compensation requested
                                                               $0.002
     immediately

     Amount of expense reimbursement sought as
                                                               $0.00
     actual, reasonable, and necessary:

     Type of fee statement or application:                     Monthly Fee Statement3




 2     Pursuant to the Retention Order (as defined herein), the Debtors are authorized to pay the $25,000 Monthly Fee
       to Nfluence each month when requested under the Engagement Letters (as defined herein) without a prior fee
       application

 3     Notice of this Monthly Fee Statement shall be served in accordance with the Interim Compensation Order
       (as defined herein) and objections to payment of the amounts described in this Monthly Fee Statement shall be
       addressed in accordance with the Interim Compensation Order. Accordingly, the Debtors’ payment of such
       Monthly Fees is not reflected in this Monthly Fee Statement (as defined below).


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         Pursuant to sections 327, 330 and 331 of title 11 of the United States Code

 (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), the Local Rules of the United States Bankruptcy Court for the Eastern

 District of Virginia (the “Local Rules”), the Order (I) Authorizing the Retention and Employment

 of Nfluence Partners as Investment Banker for the Debtors and Debtors in Possession Effective as

 of August 2, 2020, (II) Modifying Certain Time-Keeping Requirements, and (III) Granting Related

 Relief [Docket No. 474] (the “Retention Order”),4 the Order (I) Establishing Procedures for

 Interim Compensation and Reimbursement of Expenses for Retained Professionals and

 (II) Granting Related Relief, entered September 21, 2020 [Docket No. 189] (the “Interim

 Compensation Order”), Nfluence, investment banker for the Debtor, hereby files this monthly fee

 statement (this “Monthly Fee Statement”) for interim allowance and payment of compensation for

 professional services rendered and reimbursement of expenses incurred for the period from

 August 2, 2020 to and including August 31, 2020 (the “Fee Period”) in the aggregate amount of

 $25,000.00, comprised of: (i) $25,000.00 earned by Nfluence for its professional services to the

 Debtors during the Fee Period, plus (ii) $0.00 of actual and necessary expenses that Nfluence

 incurred during the Fee Period in connection with such services.

                      Itemization of Services Provided and Expenses Incurred

 1. In support this Monthly Fee Statement, attached are the following exhibits:

         Exhibit A is a detailed schedule of the number of hours expended by each Nfluence

 4   The Retention Order approved the terms of that certain engagement letter certain engagement letter between
     Nfluence, BA Securities, LLC (“BA”), and Le Tote Inc., dated as of May 8, 2020 (the “Le Tote Engagement
     Letter”), that certain engagement letter between Nfluence, BA, and Le Tote, dated as of June 16, 2020 (the “Lord
     and Taylor Engagement Letter”), and that certain Amendment to Engagement Agreement, amending the Lord &
     Taylor Engagement Letter, dated as of September 14, 2020 (the “Lord & Taylor Amendment,” and together with
     the Le Tote Engagement Letter and the Lord & Taylor Engagement Letter, the “Engagement Letters”), copies of
     which are attached as Exhibit 1, Exhibit 2, and Exhibit 3 to Exhibit A, respectively, of the Application. All
     capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Retention
     Order.


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          professional who rendered services on behalf of the Debtors during the Fee Period.

         Exhibit B is a summary of fees and expenses incurred by Nfluence during this Fee Period
          in the rendition of the professional services to the Debtors and their estates for which
          reimbursement is sought pursuant to this Monthly Fee Statement.

                                             Representations

 2.   Although every effort has been made to include all fees and expenses incurred in the Fee

      Period, some fees and expenses might not be included in this Monthly Fee Statement due to

      delays caused by accounting and processing during the Fee Period. Nfluence reserves the right

      to make further application to the Court for allowance of such fees and expenses not included

      herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy

      Code, the Bankruptcy Rules, Local Rules, and the Interim Compensation Order.



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    WHEREFORE, Nfluence requests interim allowance and payment of its fees earned and

    expenses incurred during the Fee Period in the total amount of $25,00.00, consisting of

    (i) $25,000 earned by Nfluence for its professional services to the Debtors during the Fee

    Period, plus (ii) $0.00 of actual and necessary expenses that Nfluence incurred during the Fee

    Period in connection with such services, and that such fees and expense be paid as

    administrative expenses of the Debtors’ estates.



 Dated: December 1, 2020                      NFLUENCE Partners

                                              /s/ Gary Moon
                                              Gary Moon
                                              Managing Partner
                                              Nfluence Partners




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                                       Exhibit A

                         Summary of Hours by Professional
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                           Summary of Hours
 Month      Gary Moon     Monica Mariani  Gaurav Giatonde        Peter Lindae
 8/1/2020      0.0             0.0              3.0                   0.0
 8/2/2020      1.5             0.0              0.0                   0.0
 8/3/2020      5.0             1.5              3.0                   7.0
 8/4/2020      5.0             2.0              7.5                   9.0
 8/5/2020      6.0             7.5              5.5                   2.5
 8/6/2020      3.0             2.0              4.5                   3.5
 8/7/2020      3.0             5.0              5.5                   3.0
 8/8/2020      0.0             0.0              0.0                   0.0
 8/9/2020      0.0             0.0              0.0                   0.0
8/10/2020      0.0             1.0              2.0                   4.0
8/11/2020      3.5             2.0              3.5                   1.5
8/12/2020      4.5            10.0              1.5                   9.5
8/13/2020      3.5            10.0              3.5                  10.0
8/14/2020      0.0            10.0              2.0                   4.5
8/15/2020      0.0             0.0              0.0                   0.0
8/16/2020      0.0             0.0              0.0                   0.0
8/17/2020      3.0             6.0              3.0                   3.5
8/18/2020      5.0             6.0              1.5                   4.0
8/19/2020      1.5             4.5              0.5                   6.0
8/20/2020      4.0             1.5              1.0                   4.0
8/21/2020      0.5             1.0              0.5                   1.0
8/22/2020      0.0             0.0              0.0                   0.0
8/23/2020      0.0             0.0              0.0                   0.0
8/24/2020      0.5             1.0              0.0                   2.0
8/25/2020      2.0             5.5              1.0                   1.0
8/26/2020      2.0             1.0              1.5                   3.0
8/27/2020      1.0             3.5              1.5                   4.5
8/28/2020      0.0             0.5              0.0                   2.5
8/29/2020      0.0             0.0              0.0                   0.0
8/30/2020      0.0             0.0              0.0                   0.0
8/31/2020      2.0             3.0              0.5                   3.0
  Total        56.5            84.5            52.5                  89.0
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                                     Exhibit B

                    Summary of Actual and Necessary Expenses
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                                                    Summary of Hours Worked - Total
 DATE       HOURS                            DESRCIPTION
8/1/2020   3.0 hour(s)     Gaurav Gaitonde   Diligence work for Rue Gilt
8/2/2020   1.5 hour(s)     Gary Moon         Messages to Kirkland, Le Tote
8/3/2020   1.0 hour(s)     Gary Moon         Meeting Prep
8/3/2020   0.5 hour(s)     Gary Moon         Call with Ed
8/3/2020   0.5 hour(s)     Gary Moon         O3 Intro Call
8/3/2020   1.5 hour(s)     Gary Moon         Messages to Monica Goomez, Le Tote, O3, Kirkland, Kingswood, James Moon
8/3/2020   1.0 hour(s)     Gary Moon         Le Tote / RTR Tech Demo
8/3/2020   0.5 hour(s)     Gary Moon         Call AK Growth Ventures
8/3/2020   0.5 hour(s)     Monica Mariani    O3 Intro Call
8/3/2020   1.0 hour(s)     Monica Mariani    Le Tote / RTR Tech Demo
8/3/2020   0.5 hour(s)     Gaurav Gaitonde   Call with O3 Industries
8/3/2020   1.0 hour(s)     Gaurav Gaitonde   Call with LeTote Management and Rent the Runway (RTR)
8/3/2020   1.0 hour(s)     Gaurav Gaitonde   Prep for calls with RTR and Hilco / Retail Ecomm
8/3/2020   0.5 hour(s)     Gaurav Gaitonde   Messaging with Tengram, AK Growth, Rue Gilt
8/3/2020   0.5 hour(s)     Peter Lindae      O3 Intro Call
8/3/2020   0.5 hour(s)     Peter Lindae      Lender Call Update Prep
8/3/2020   1.0 hour(s)     Peter Lindae      Prep for calls with RTR and Hilco / Retail Ecomm
8/3/2020   1.0 hour(s)     Peter Lindae      Process Tracking and Mangement
8/3/2020   4.0 hour(s)     Peter Lindae      Post-Bid Date Review & Bidder Profiles Preparation
8/4/2020   0.5 hour(s)     Gary Moon         Material Review
8/4/2020   2.0 hour(s)     Gary Moon         Messages to Kirkland, Internal, Azure Capital, Elliott Management, Amazon, Kingswood Capital,
                                             Nevim Equity, Angelo Gordon AK Growth, Retail Ecommerce, Hilco Global, Monica Gomez
8/4/2020   0.5   hour(s)   Gary Moon         Call with Ed
8/4/2020   1.0   hour(s)   Gary Moon         Le Tote / RTR Digital P&L
8/4/2020   0.5   hour(s)   Gary Moon         TPG Intro Call
8/4/2020   0.5   hour(s)   Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/4/2020   1.0   hour(s)   Monica Mariani    Le Tote / RTR Digital P&L
8/4/2020   0.5   hour(s)   Monica Mariani    TPG Intro Call
8/4/2020   0.5   hour(s)   Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/4/2020   1.0   hour(s)   Gaurav Gaitonde   Call with L&T Management and Hilco / Retail Ecomm
8/4/2020   5.0   hour(s)   Gaurav Gaitonde   Diligence work for Rue Gilt, AK Growth
8/4/2020   0.5   hour(s)   Gaurav Gaitonde   Call with TPG
8/4/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with O3, Amazon
8/4/2020   0.5   hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/4/2020   1.0   hour(s)   Peter Lindae      Call with L&T Management and Hilco / Retail Ecomm
8/4/2020   2.0   hour(s)   Peter Lindae      Diligence work for Rue Gilt, AK Growth
8/4/2020   0.5   hour(s)   Peter Lindae      Call with TPG
8/4/2020   1.5   hour(s)   Peter Lindae      Bid and Process Tracking
8/4/2020   3.0   hour(s)   Peter Lindae      BOD Presentation Preperation
8/4/2020   1.0   hour(s)   Peter Lindae      Bid Package Review & Bidder Profiles Preparation
8/5/2020   1.0   hour(s)   Gary Moon         Meeting Prep
8/5/2020   0.5   hour(s)   Gary Moon         SPS World intro call
8/5/2020   1.0   hour(s)   Gary Moon         BID Package BOD Discussion
8/5/2020   0.5   hour(s)   Gary Moon         Amazon Intro Call
8/5/2020   0.5   hour(s)   Gary Moon         Kingswood Coordination
8/5/2020   0.5   hour(s)   Gary Moon         Neviim Equity Intro Call
8/5/2020   0.5   hour(s)   Gary Moon         Kingswood Call
8/5/2020   1.5   hour(s)   Gary Moon         Messages with Monica Gomez, Client, Kingswood, Saadia, Harry & Rajeev, Amazon
8/5/2020   0.5   hour(s)   Monica Mariani    SPS World intro call
8/5/2020   1.0   hour(s)   Monica Mariani    BID Package BOD Discussion
8/5/2020   0.5   hour(s)   Monica Mariani    Amazon Intro Call
8/5/2020   1.0   hour(s)   Monica Mariani    Scheduling/Prep for Kingswood
8/5/2020   0.5   hour(s)   Monica Mariani    Kingswood Coordination
8/5/2020   0.5   hour(s)   Monica Mariani    Neviim Equity Intro Call
8/5/2020   0.5   hour(s)   Monica Mariani    Kingswood Call
8/5/2020   1.0   hour(s)   Monica Mariani    Email exchanges for Sycamore (Dataroom, NDAs coordination etc)
8/5/2020   2.0   hour(s)   Monica Mariani    Coordination with Pat (Controller) on Inventory NOLV as of June/July
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with SPS World
8/5/2020   1.0   hour(s)   Gaurav Gaitonde   Call with Board to discuss bids
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with Kingswood, Sycamore, Neviim
8/5/2020   1.5   hour(s)   Gaurav Gaitonde   Diligence work for O3
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Amazon
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Management regarding Kingswood
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Neviim
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Kingswood
8/5/2020   1.0   hour(s)   Peter Lindae      Call with Board to review Bids
8/5/2020   0.5   hour(s)   Peter Lindae      Call with Amazon
8/5/2020   0.5   hour(s)   Peter Lindae      Call with NEViiM Equity
8/5/2020   0.5   hour(s)   Peter Lindae      Call with Kingswood
8/6/2020   1.0   hour(s)   Gary Moon         Meeting Prep
8/6/2020   0.5   hour(s)   Gary Moon         Target Intro Call
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                                                      Summary of Hours Worked - Total
  DATE       HOURS                            DESRCIPTION
8/6/2020    0.5 hour(s)     Gary Moon         Kaplan & Moon Intro Call
8/6/2020    0.5 hour(s)     Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
8/6/2020    0.5 hour(s)     Gary Moon         Internal sync call
8/6/2020    0.5 hour(s)     Monica Mariani    Target Intro Call
8/6/2020    0.5 hour(s)     Monica Mariani    Kaplan & Moon Intro Call
8/6/2020    0.5 hour(s)     Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
8/6/2020    0.5 hour(s)     Monica Mariani    Internal sync call
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Target
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Skyview
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Kaplan & Moon
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Internal Nfluence sync on deal
8/6/2020    2.0 hour(s)     Gaurav Gaitonde   Diligence work for Neviim
8/6/2020    2.0 hour(s)     Peter Lindae      Process Tracking and BOD Update Preparation
8/6/2020    0.5 hour(s)     Peter Lindae      Intro Call with Target
8/6/2020    0.5 hour(s)     Peter Lindae      Kaplan & Moon Intro Call
8/6/2020    0.5 hour(s)     Peter Lindae      Internal Team Sync
8/7/2020    0.5 hour(s)     Gary Moon         Material Review
8/7/2020    0.5 hour(s)     Gary Moon         Hilco Intro Call
8/7/2020    0.5 hour(s)     Gary Moon         Call with Ed
8/7/2020    0.5 hour(s)     Gary Moon         AK Growth Call
8/7/2020    1.5 hour(s)     Gary Moon         Messages with Client, O3, Monica Gomez, Kirkland, Think BRG
8/7/2020    0.5 hour(s)     Monica Mariani    Hilco Intro Call
8/7/2020    0.5 hour(s)     Monica Mariani    AK Growth Call
8/7/2020    3.0 hour(s)     Monica Mariani    Follow-up DD on Customer List
8/7/2020    1.0 hour(s)     Monica Mariani    Coordinate/schedule several calls (Amazon, AK Growth, etc.)
8/7/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Hilco
8/7/2020    0.5 hour(s)     Gaurav Gaitonde   Call with AK Growth
8/7/2020    4.0 hour(s)     Gaurav Gaitonde   Diligence work for RTR, SPS Commerce, AK Growth
8/7/2020    0.5 hour(s)     Peter Lindae      Call with Hilco
8/7/2020    0.5 hour(s)     Peter Lindae      Call with AK Growth
8/7/2020    2.0 hour(s)     Peter Lindae      Diligence work for RTR, SPS Commerce, AK Growth
8/10/2020   1.0 hour(s)     Monica Mariani    Coordination and answering follow-ups from Kingswood Capital
8/10/2020   2.0 hour(s)     Gaurav Gaitonde   Diligence work for Neviim
8/10/2020   2.5 hour(s)     Peter Lindae      Process Tracking and Mangement
8/10/2020   1.5 hour(s)     Peter Lindae      Coordination for Kingswood Capital, Amazon, AK Growth
8/11/2020   0.5 hour(s)     Gary Moon         Material Review
8/11/2020   1.5 hour(s)     Gary Moon         Messages with Monica Gomez, Kirkland, Think BRG, Nevim Equity Zar group
8/11/2020   0.5 hour(s)     Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/11/2020   1.0 hour(s)     Gary Moon         AK Growth /Rajeev and Harry DD Call
8/11/2020   0.5 hour(s)     Monica Mariani    Estee Lauder Intro Call
8/11/2020   0.5 hour(s)     Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/11/2020   1.0 hour(s)     Monica Mariani    AK Growth /Rajeev and Harry DD Call
8/11/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Estee Lauder
8/11/2020   0.5 hour(s)     Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/11/2020   1.0 hour(s)     Gaurav Gaitonde   Call with L&T management and AK Growth
8/11/2020   0.5 hour(s)     Gaurav Gaitonde   Messaging with Skyview, SPS Commerce
8/11/2020   1.0 hour(s)     Gaurav Gaitonde   Work on Le Tote model
8/11/2020   0.5 hour(s)     Peter Lindae      Call with Estee Lauder
8/11/2020   1.0 hour(s)     Peter Lindae      Call with L&T management and AK Growth
8/12/2020   0.5 hour(s)     Gary Moon         Material Review
8/12/2020   1.5 hour(s)     Gary Moon         Messages to Zar Group, Kirkland, Neviim Equity, client, Kingswood
8/12/2020   1.0 hour(s)     Gary Moon         Estee Lauder Follow-up Call
8/12/2020   0.5 hour(s)     Gary Moon         Call with Ed Kremer
8/12/2020   1.0 hour(s)     Gary Moon         Neviim Follow-up Call
8/12/2020   2.0 hour(s)     Monica Mariani    Follow-ups on inventory DD questions
8/12/2020   1.5 hour(s)     Monica Mariani    Follow-ups/Preparation for Estee Lauder Call
8/12/2020   1.0 hour(s)     Monica Mariani    Estee Lauder Follow-up Call
8/12/2020   1.0 hour(s)     Monica Mariani    Neviim Follow-up Call
8/12/2020   1.0 hour(s)     Monica Mariani    Follow-ups for Rajeev and Harry on Digital inventory
8/12/2020   0.5 hour(s)     Monica Mariani    Consensus NDA turns
8/12/2020   3.0 hour(s)     Monica Mariani    Follow-up responses for Rajeev & Harry on Current DC inventory breakdown by brand, cost price,
                                              retail price, etc.
8/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Consensus
8/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Neviim
8/12/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with Consensus, Saadia, Tengram
8/12/2020   2.0   hour(s)   Peter Lindae      Follow-ups work on DD questions
8/12/2020   3.0   hour(s)   Peter Lindae      Process Tracking and Mangement BOD Prep | Bid Comparison Update
8/12/2020   1.0   hour(s)   Peter Lindae      Neviim Follow-up Call
8/12/2020   3.5   hour(s)   Peter Lindae      Inventory DD Follow-ups for AK Growth
8/13/2020   0.5   hour(s)   Gary Moon         Meeting Prep
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                                                     Summary of Hours Worked - Total
  DATE       HOURS                            DESRCIPTION
8/13/2020   1.0 hour(s)     Gary Moon         Neviim Call
8/13/2020   0.5 hour(s)     Gary Moon         Saadia Intro Call
8/13/2020   1.5 hour(s)     Gary Moon         Messages to Saadia, Kirkland, Monica Gomez
8/13/2020   0.5 hour(s)     Monica Mariani    Neviim Follow-up Call
8/13/2020   0.5 hour(s)     Monica Mariani    Saadia Intro Call
8/13/2020   2.0 hour(s)     Monica Mariani    Follow-up from CSC Generation
8/13/2020   1.0 hour(s)     Monica Mariani    Estee Lauder NDA turns
8/13/2020   6.0 hour(s)     Monica Mariani    Rajeev & Harry requests - reformating and redoing DD items
8/13/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Target
8/13/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Neviim
8/13/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Saadia
8/13/2020   2.0 hour(s)     Gaurav Gaitonde   Diligence work for CSC
8/13/2020   0.5 hour(s)     Peter Lindae      Call with Target
8/13/2020   0.5 hour(s)     Peter Lindae      Follow-up Call with Neviim
8/13/2020   3.0 hour(s)     Peter Lindae      BOD Update Preparation
8/13/2020   5.0 hour(s)     Peter Lindae      Rajeev & Harry / AK Growth Requests - DD items
8/13/2020   1.0 hour(s)     Peter Lindae      Diligence work for CSC
8/14/2020   1.0 hour(s)     Monica Mariani    CSC follow-ups
8/14/2020   3.0 hour(s)     Monica Mariani    Additional outreach to new potential interested parties Story 3 Capital and research to find those
                                              potential parties
8/14/2020   6.0   hour(s)   Monica Mariani    Follow-up requests from AK Growth
8/14/2020   2.0   hour(s)   Gaurav Gaitonde   Diligence work for AK Growth
8/14/2020   3.0   hour(s)   Peter Lindae      Follow-up requests from AK Growth
8/14/2020   1.5   hour(s)   Peter Lindae      Process Tracking and Management
8/17/2020   1.0   hour(s)   Gary Moon         Call AK Growth Follow-up
8/17/2020   0.5   hour(s)   Gary Moon         Internal Sync Call
8/17/2020   1.5   hour(s)   Gary Moon         Messages to client and kirkland, Saadia, AK Growth, Neviim Equity
8/17/2020   0.5   hour(s)   Monica Mariani    Zar Call for DR access
8/17/2020   3.0   hour(s)   Monica Mariani    Additional requests, calls, email exchanges from Zar
8/17/2020   1.0   hour(s)   Monica Mariani    Prep for AK Growth follow-up
8/17/2020   1.0   hour(s)   Monica Mariani    AK Growth Follow-up
8/17/2020   0.5   hour(s)   Monica Mariani    Internal Sync Call
8/17/2020   1.0   hour(s)   Gaurav Gaitonde   Call with L&T management and AK Growth
8/17/2020   0.5   hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
8/17/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with Consensus, Saadia, Solitaire, Neviim
8/17/2020   1.0   hour(s)   Gaurav Gaitonde   Diligence work for Neviim
8/17/2020   0.5   hour(s)   Peter Lindae      Internal Nfluence sync on deal
8/17/2020   1.0   hour(s)   Peter Lindae      Call with L&T management and AK Growth
8/17/2020   2.0   hour(s)   Peter Lindae      Process Tracking & Management
8/18/2020   1.0   hour(s)   Gary Moon         Material Review
8/18/2020   0.5   hour(s)   Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/18/2020   1.5   hour(s)   Gary Moon         Messages to Client, Kirkland, Zar Group, Harry & Rajeev, BDO
8/18/2020   1.0   hour(s)   Gary Moon         Amazon Store Discussion
8/18/2020   1.0   hour(s)   Gary Moon         AK Growth Call
8/18/2020   0.5   hour(s)   Monica Mariani    Story 3 Capital Intro Call
8/18/2020   0.5   hour(s)   Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/18/2020   1.0   hour(s)   Monica Mariani    Amazon Store Discussion
8/18/2020   4.0   hour(s)   Monica Mariani    AK Growth Followups
8/18/2020   0.5   hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/18/2020   1.0   hour(s)   Gaurav Gaitonde   Call with L&T Management and Amazon
8/18/2020   1.0   hour(s)   Peter Lindae      Call with L&T Management and Amazon
8/18/2020   3.0   hour(s)   Peter Lindae      Diligence and Follow-ups | AK Growth
8/19/2020   0.5   hour(s)   Gary Moon         Internal Sync Call
8/19/2020   1.0   hour(s)   Gary Moon         Call with Michele Simonato about Le Tote
8/19/2020   0.5   hour(s)   Monica Mariani    Internal Sync Call
8/19/2020   4.0   hour(s)   Monica Mariani    Research on additional names - searching through "losing parties" at other retail bankruptcies
8/19/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Solitaire
8/19/2020   0.5   hour(s)   Peter Lindae      Internal Sync Call
8/19/2020   1.5   hour(s)   Peter Lindae      Process Tracking & BOD Prep
8/19/2020   4.0   hour(s)   Peter Lindae      Market Check & Bankruptcy Research
8/20/2020   1.0   hour(s)   Gary Moon         Meeting Prep
8/20/2020   0.5   hour(s)   Gary Moon         BDO Weekly
8/20/2020   1.5   hour(s)   Gary Moon         Messages to Kirkland, BDO, Client, Harry & Rajeev, AK Growth
8/20/2020   1.0   hour(s)   Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
8/20/2020   0.5   hour(s)   Monica Mariani    Amazon Catch-up
8/20/2020   1.0   hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
8/20/2020   1.0   hour(s)   Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
8/20/2020   4.0   hour(s)   Peter Lindae      Process Tracking and BOD Update Preparation
8/21/2020   0.5   hour(s)   Gary Moon         BDO Call
8/21/2020   1.0   hour(s)   Monica Mariani    Check-in on Amazon and others
8/21/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Skyview
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                                                   Summary of Hours Worked - Total
  DATE       HOURS                          DESRCIPTION
8/21/2020   1.0 hour(s)   Peter Lindae      Active Parties Follow-ups and DD Requests
8/24/2020   0.5 hour(s)   Gary Moon         Messages to Kirkland
8/24/2020   1.0 hour(s)   Monica Mariani    Story3 Capital NDA Discussion
8/24/2020   2.0 hour(s)   Peter Lindae      Process Tracking Management
8/25/2020   0.5 hour(s)   Gary Moon         Material Review
8/25/2020   0.5 hour(s)   Gary Moon         Messages to Client
8/25/2020   0.5 hour(s)   Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/25/2020   0.5 hour(s)   Gary Moon         Call Le Tote / L&T
8/25/2020   1.0 hour(s)   Monica Mariani    Story3 Dataroom and additional questions
8/25/2020   0.5 hour(s)   Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/25/2020   1.0 hour(s)   Monica Mariani    Coordination for Saadia
8/25/2020   2.0 hour(s)   Monica Mariani    Chasing and daily check-ins on unresponsive parties
8/25/2020   1.0 hour(s)   Monica Mariani    Zar call for additional clarifications
8/25/2020   0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/25/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Saadia, Mason
8/25/2020   1.0 hour(s)   Peter Lindae      Active Parties Follow-Ups & Information Gathering
8/26/2020   1.0 hour(s)   Gary Moon         Call Le Tote - Sale Process Update with BDO
8/26/2020   1.0 hour(s)   Gary Moon         Target Follow-Up Discussion
8/26/2020   1.0 hour(s)   Monica Mariani    Target Follow-Up Discussion
8/26/2020   1.0 hour(s)   Gaurav Gaitonde   Call with Le Tote and L&T Management and Target
8/26/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with BDO, Saadia
8/26/2020   1.0 hour(s)   Peter Lindae      Call with Le Tote and L&T Management and Target
8/26/2020   2.0 hour(s)   Peter Lindae      Process Tracking & Management
8/27/2020   0.5 hour(s)   Gary Moon         Saadia Follow-Up
8/27/2020   0.5 hour(s)   Gary Moon         Internal Sync Call
8/27/2020   1.0 hour(s)   Monica Mariani    Coordination SixthStreet and intro call
8/27/2020   0.5 hour(s)   Monica Mariani    TPG Follow-Up
8/27/2020   0.5 hour(s)   Monica Mariani    Saadia Follow-Up
8/27/2020   1.0 hour(s)   Monica Mariani    Estee Lauder Follow-Up
8/27/2020   0.5 hour(s)   Monica Mariani    Internal Sync Call
8/27/2020   0.5 hour(s)   Gaurav Gaitonde   Call with Saadia
8/27/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
8/27/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Consensus, Solitaire, BDO, Mason
8/27/2020   0.5 hour(s)   Peter Lindae      Internal Sync Call
8/27/2020   4.0 hour(s)   Peter Lindae      Outreach and Bid Update Review
8/28/2020   0.5 hour(s)   Monica Mariani    Estee Lauder Follow-Up
8/28/2020   2.5 hour(s)   Peter Lindae      Outreach and Bid Update Preperation
8/31/2020   1.5 hour(s)   Gary Moon         Prepare Amendment details
8/31/2020   0.5 hour(s)   Gary Moon         Call Le Tote Amendment
8/31/2020   3.0 hour(s)   Monica Mariani    Clarifying questions from Estee Lauder on Customer List etc to Dave MacDougall
8/31/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Saadia, BDO, AK Growth
8/31/2020   3.0 hour(s)   Peter Lindae      ABL Research and Analysis for Internal Review
